   Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 1 of 15 PageID #:310




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

VINCENT P. LARA,                                    )
                              Plaintiff,            )       Case Number 22-50014
               v.                                   )       Judge Philip G. Reinhard
                                                    )
ROCK VALLEY COLLEGE BOARD                           )       Magistrate Margaret J. Schneider
OF TRUSTEES,                                        )
                    Defendants.                     )

      OPPOSITION TO MOTION TO DISMISS FIRST AMENDED COMPLAINT

       Vincent Lara, (“Lara”), First Sergeant (E-8) United States Army Reserve, (“Army

Reserve”), distinguished veteran of the war in Iraq awarded the Army Commendation Medal, and

former sworn law enforcement officer for the Rock Valley Community College Police Department

governed by the Rock Valley Community College Board of Trustees (“defendants”), by and

through the undersigned attorneys MAHER LEGAL SERVICES PC, respectfully submits this

opposition to defendant’s motion to dismiss (Doc. 72) Lara’s first-amended complaint. (Doc. 66).

                                           BACKGROUND

       On March 6, 2023, the Court dismissed Lara’s original complaint with leave to amend.

(Doc. 62). The court found that the series of increasingly more severe, pervasive, and intolerable

changes in Lara’s working conditions resulting from his having been discriminated against,

retaliated against, having employment benefits withheld, and constructively discharged based on

antimilitary animus did not amount to one or more materially adverse employment actions.

       In the court’s view, Lara did not state violations of the Uniformed Services Employment

and Reemployment Rights Act, 38 U.S.C. § 4301, et seq., (“USERRA”), designed to protect

military members from workplace discrimination, retaliation, denial of employment benefits, and

termination motivated by antimilitary animus.
      Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 2 of 15 PageID #:311




          Lara, then a full-time civilian sworn law enforcement officer and part-time Army Reserve

military police officer, Twice the Citizen as the Army Reserve motto goes,1 alleged facts in his

original complaint summarized here: Lara’s public employer singled him out as the only target of

a bad-faith criminal investigation into Lara’s military leave, travel time, performance of duty, pay,

the validity and necessity of Lara’s military orders and duties, civilian pay, sick call, personal

leave, and family life.

          In addition to defendant’s deceitful relation of misleading misinformation to Army Reserve

officers to paint Lara as sneaky, a fraud, and a thief, defendants unlawfully denied military leave,

compelled Lara to take personal leave for military service, required Lara to find substitutes for

duty when Lara was on military leave, surveilled Lara and his daughter, generated a “fictitious”

or fake military order and then accused Lara of fabricating it to threaten Lara with career and

liberty-ending removal from police service followed by Lara’s public arrest, prosecution, and

looming conviction and confinement during a series of increasingly more hostile, harassing,

discriminating, retaliating, and benefit-denying leading to Lara’s resignation – a step Lara took to

preserve his mental well-being, safeguard future law enforcement opportunities, (better to resign

than be terminated), and avert being “put into the system” and having to undo that process.

          The court ruled that Lara did not meet Federal Rule of Civil Procedure (“Rule”) 8(a)(2)’s

requirement to allege a “short and plain” statement demonstrating entitlement to relief. Johnson v.

City of Shelby, 574 U.S. 10, 12 (2014). Motivated by jealousy of Lara’s service in Iraq, laudable

career in the Army Reserve, public recognition, and the “extra” money Lara made while causing

“paperwork and scheduling headaches” due to military leave, the bad-faith criminal investigation

was a plot to make work so intolerable to compel Lara’s resignation. And it worked.



1
    US Army Unit Crest: US Army Reserve Command - Motto: TWICE THE CITIZEN (milfordarmynavy.com).
                                                                            Opposition to Motion to Dismiss
                                                                                                     Page 2
    Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 3 of 15 PageID #:312




        Defendant’s malice resulted in 19 months of post-employment arrest, jailing, prosecution,

attorneys fees, public scorn, media coverage, eventual dropping of larceny charges, and

expungement – but at momentous costs in ending Lara’s civilian law enforcement career, (Lara is

now “black-balled” or “black-listed”), ending his part-time employment with a small local village

police department, endangering his part-time military police career, incurring lifestyle-altering lost

pay and benefits, future pay, attorneys’ fees and court costs, devastating emotional strain, loss of

personal leave, loss of military leave, loss of retention of employment, and stymying anxiety. But

none of the ruinous allegations were true. Defendants, a community college’s police department,

knew so. After all, defendants propagated falsehoods and other violations of the law while

denigrating their oaths and besmirching their offices to crush Lara.

        Evidence knowingly withheld or unpursued was a single interview away, surely a lead a

competent police department would pursue, if only that were the motivation spawning the

investigation. As it turns out, a Colonel, (“full-bird” or “0-6” who typically must have spent 22 –

25 years in service to attain such a prestigious an elevated rank), Army Reserve officer serving as

lead personnel officer, reviewed all of Lara’s military orders and associated performances of duty.

        Characteristic of Lara’s decades of honorable and distinguished Army service, there were

no discrepancies that would raise concern about Lara’s integrity. Surely, a good-faith investigation

would have followed evidence to natural ends, unconcerned about outcomes other than the truth.2

As detailed in Lara’s amended complaint, the investigation was anything but lawful. The hatchet-

job was sired by antimilitary animus, hate, and jealousy.




2
  Indeed, as discussed in Lara’s complaint, (Doc. 66), defendants traveled to and met with Lara’s Army commander
to misinform that officer that Lara was manipulating military leave and subsequently based further disparaging
denigrations based on the strained conclusions of an Army officer defendants purposefully underinformed and
misinformed to construct a false narrative aimed at destroying Lara and Lara’s careers.
                                                                                   Opposition to Motion to Dismiss
                                                                                                            Page 3
    Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 4 of 15 PageID #:313




       A basis on which the court dismissed the original complaint was the finding that a criminal

investigation was not an adverse employment action affecting Lara’s job conditions.

               To be actionable as an adverse employment action, an employer’s
               actions must affect the employee’s working conditions. Being
               investigated for and charged with a crime, arrested, briefly jailed,
               and tried on charges does not involve working conditions even when
               the employer is a law enforcement agency, and the criminal charges
               arise from alleged criminal behavior by the employee during the
               course of his employment.

(Doc. 62 at 6). The court determined “a criminal prosecution is not an adverse employment action

because it does not involve plaintiff’s job conditions” id, that Lara did not “allege anything that

suggests any of this was threatening, humiliating or that he was every physically threatened. He

does not allege any of it interfered with his work performance.” Id.

       Pursuant to the court’s grant of leave, on April 18, 2023, Lara filed his first amended

complaint (Doc. 66). On May 26, 2023, defendants filed a Rule 12(b)(6) motion to dismiss Lara’s

re-pled complaint (Docs. 71 and 72), which Lara now opposes.

                FIRST AMENDED COMPLAINT SATISFIES RULE 8(a)(2)

       Lara pled facts showing Lara’s part-time service in the Army Reserve motivated

defendants to engage in prohibited conduct which “caused a material change in the employment

relationship,” Lewis v. City of Chicago, 496 F.3d 645, 654 (7th Cir. 2007), dealt “economic

injuries,” Alexander v. Casino Queen, Inc. 739 F.3d 972, 980 (7th Cir. 2014), and destroyed Lara’s

present and future career prospects. Pennsylvania State Police v. 542 U.S. 129, 147 (2004).

       Lara pled numerous changes in his job conditions that made work a Pandora’s box of

quagmires that a self-respecting professional could not endure. Parrett v. Connersville, 737 F.2d

690, 694 (7th Cir. 1984) (“anyone with some self-respect [recognized the work] was intolerable.”).




                                                                          Opposition to Motion to Dismiss
                                                                                                   Page 4
    Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 5 of 15 PageID #:314




       The misdeeds here included disciplinary threats (e.g., Brady Letter), character

assassinations, micro-management, badgering, ostracism, chastisements, falsehoods, slanders,

damning Lara’s police service and uniform as Lara’s “wearing a costume to play a part,”

surveillance of Lara and his minor child, mockery of Lara’s military service, delegitimizing valid

military orders, questioning the necessity for military training, false accusations of dishonesty,

denunciation that Lara manipulated military leave, bad-faith threats of criminal fraud, criminal

larceny, holding a Sword of Damocles over Lara’s head all but promising arrest, prosecution, and

confinement – changes in working conditions so intolerable that Lara had to seek medical attention

and resigned as a self-respecting professional who could no longer endure the threats, pressures,

and aspersions that diminished Lara’s otherwise sharp mind and able body, in order to avoid the

looming involuntary termination followed by promised criminal prosecution. To this day, no

police department will hire Lara because of how the defendants treated Lara.

                                  RULE 12(b)(6) STANDARDS

       The Rules require “a short and plain statement of the claim showing that the pleader is

entitled to relief,” Fed. R. Civ. P. 8(a)(2), otherwise known as “notice pleading.” The allegations

should be “simple, concise, and direct. Rule 8(e). If the complaint (1) describes the claim in

sufficient detail to give the defendant fair notice of what the claim is and the grounds upon which

it rests and (2) plausibly suggests that the plaintiff has a right to relief above a speculative level,

this requirement is met. Ashcroft v. Iqbal, 556 U.S. 662 (2009).

       Where, like here, a court is ruling on a Rule 12(b)(6) motion for failure to state a claim

upon which relief can be granted, the court must accept the factual allegations in plaintiff’s

complaint as true. Hishon v. King & Spaulding, 467 U.S. 69, 73 (1984). The complaint must be




                                                                             Opposition to Motion to Dismiss
                                                                                                      Page 5
    Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 6 of 15 PageID #:315




liberally construed in favor of the plaintiff, even if it appears that “recovery is remote and

unlikely.” Scheuer v. Rhodes, 416 U.S. 232, 236 (1974).

       USERRA “is to be liberally construed for the benefit of those who left private life to serve

their country in its hour of great need.” Fishgold v. Sullivan Drydock and Repair Corp., 328 U.S.

275, 285 (1946).

    USERRA’S ANTI-DISCRIMINAION AND ANTI-RETALIAION PROTECTIONS

               A person who is a member of, applies to be a member of, performs,
               or has performed, applies to perform or has an obligation to perform
               service in a uniformed service shall not be denied initial
               employment, reemployment, retention in employment, promotion,
               or any benefit of employment by an employer on the basis of that
               membership, application for membership, performance of service or
               obligation.

38 U.S.C. § 4311(a). “An employer may not discriminate in employment against or take any

adverse employment action against any person because such person (1) has taken any action to

enforce a protection afforded under this chapter . . . or (4) has exercised a right provided for in this

chapter. Id. at § 4311(b). Section 4311(a) provides in relevant part that a “person who is a member

of … a uniformed service shall not be denied . . . retention in employment . . . or any benefit of

employment by an employer based on the basis of [military] membership.” See also 20 C.F.R. §§

1002.5 and 1002.18.

   CRIMINAL INVESTIGATIONS PLED AS ADVERSE EMPLOYMENT ACTIONS

       Brandsasse v. City of Suffolk, Va., 72 F. Supp 2d 608, 613 (E.D. Va. 1999), involved an

Army Reservist who was also a local police officer who alleged that his employer initiated an

investigation as reprisal for his having exercised invoked USERRA. Defendants moved to dismiss

claiming that an investigation cannot be an “adverse employment action.” Brandasse, 72 F. Supp

2d at 612. The court rejected that argument, holding that the facts pled a USERRA claim.


                                                                             Opposition to Motion to Dismiss
                                                                                                      Page 6
    Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 7 of 15 PageID #:316




               On its face, the complaint states that the investigation is pretextual
               and that it was instigated by plaintiff's enforcement of his federal
               rights. An investigation of the sort plaintiff pleads constitutes
               retaliatory action within the scope of the statute such that this court
               can grant relief.

Id. at 615. Here, Lara alleged facts that the investigation was an adverse employment action leading

to constructive discharge and a part of a series of discriminatory harassments, retaliations, and a

pretext for legitimate law enforcement objectives based upon antimilitary animus. Compl. ¶¶ 66 –

78. Defendants wrote, “[we] cannot run shifts like this,” in response to Lara’s request for a four-

hour extension of Lara’s report time to defendant’s campus to safely complete the drive from

Lara’s military duty. Id. ¶¶ 87 – 88; Arroyo v. Volvo Group North America, LLC, No. 14-3618

(7th Cir. October 6, 2015).

       Further delineating the pretextual certitude of defendant’s bogus inquisition, Lara

described the material falsehoods in which defendant engaged to deceive Lara’s Army Reserve

commanding officer, all of which negatively affected Lara’s civilian job conditions. Compl. ¶¶

143 – 152. Defendants wrote that Lara’s submission of military leave requests amounted to “a

pattern of insubordination.” Id. ¶ 108. Additionally, Lara depicted further lies included in

defendant’s deceptive inquest and referral to county prosecutorial authorities. Id. ¶¶ 188 – 198.

Lara posits these defilements are “something more disruptive than mere inconvenience or an

alteration of job responsibilities.” Miller v. City of Indianapolis, 281 F.3d 648, 650 (7th Cir. 2002).

Lara pled even more prevarications proving the pretextual nature of the dubious inquisition.

Compl. ¶¶ 207 – 215. Lara contended that the workplace discrimination, harassment, hostile work

environment, and retaliation had deleterious impacts on his work performance, mindset, pay,

benefits of employment, and job conditions.

               During this increased harassment, Lara was distracted from his
               primary duties as a police officer on a number of occasions. Coe

                                                                             Opposition to Motion to Dismiss
                                                                                                      Page 7
      Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 8 of 15 PageID #:317




                noticed that Coe’s harassing tactics were working. For example, Coe
                coerced Lara into taking a shift off when, after Coe “lectured” Lara,
                Lara appeared to Coe to “not be thinking clearly.”

Id. ¶¶ 140 – 142. Other negative impacts on Lara’s job conditions and work conditions involve

ostracism proven by slow to no back up during police calls.

                Coe took active steps to ostracize Lara from Lara’s leadership and
                colleagues. Coe’s efforts produced results, as Lara was isolated,
                looked upon skeptically by other personnel, often responded to calls
                without back-up, all a part of Coe’s design to force Lara out because
                of Lara’s military service.

Id. ¶¶ 110 – 114. Lara’s allegations exceed and are far more detailed and robust than those pled in

Brandasse, supra, found to have sufficiently pled violations of USERRA involving a police

department’s retaliatory investigation affecting job conditions. 72 F. Supp 2d at 615.

         Likewise, Ward v. Shelby County, No. 2:20-cv-02407 (W.D. Tenn. June 25, 2021) found

USERRA violated:

                It is also reasonable for a factfinder to determine that the January
                2014 Audit Report, the Valentine Investigation [criminal], the
                Criminal Charge, and Administrative Investigation, were all part of
                a series of events that were intertwined and motivated by an intent
                to discriminate against service-members, eventually resulted in the
                adverse employment action – Plaintiff’s termination.

Id.

  UNLIKE HERE, THE INVESTIGATION IN SWEARINGEN-EL WAS LEGITIMATE

         Reliance on Swearnigen-El v. Cook County Sheriff’s Department, 602 F.3d 852 (7th Cir.

2002), for the generic point that a criminal investigation and prosecution does not constitute an

adverse employment action, is misplaced when applied to the case at bar.

         Swearingen involved a correctional officer who was investigated and prosecuted for having

sexual relations with a prisoner. 602 F.3d at 856 – 58. Plaintiff was suspended with pay, took

vacation, spent a “few hours” in an unlocked cell, and resigned “noting in his paperwork that he

                                                                           Opposition to Motion to Dismiss
                                                                                                    Page 8
    Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 9 of 15 PageID #:318




was leaving to attend school.” Id. at 858. Upon acquittal, plaintiff filed a federal complaint. From

Swearingen emerged the generic notion that a criminal prosecution is not an adverse employment

action because it does not involve plaintiff’s job conditions. Id. at 859 – 60.

        The same cannot be said about the defendant’s targeting Lara. In Swearingen, there was

no adverse employment action involving job conditions. Id. at 858. By contrast, the “investigation”

into Lara negatively impacted the entirety of Lara’s job conditions. Lara was not put on suspension

with pay, able to take a vacation, was not jailed for hours in an open cell, nor did Lara resign to

attend school. Rather, Lara was subjected to harassment so pervasive as to alter his conditions of

employment and create a hostile work environment replete with ongoing and severe retaliation,

denial of benefits of employment, and ignoble harassment rightly seen as an abuse of office and

oath. Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 116 (2002).3

                 Coe reported directly to the Chief of Police. In September 2017, Coe
                 removed Hoshaw from duty as Lara’s first-line supervisor. Coe had
                 previously been Lara’s second-line supervisor (e.g., senior rater).
                 Coe detailed himself from a senior rater position over Lara to a
                 direct management position over Lara. Coe unilaterally “stepped
                 down” as a direct report to the Chief of Police to take on the more
                 junior and ostensibly unnecessary duty to manage Lara. Coe did so
                 to micro-manage Lara’s civilian employment and “find” something
                 to harm Lara’s police career because of Coe’s jealousy of Lara’s
                 military affiliation, rank, pay, and standing in the community.

Compl. ¶¶ 81 – 86.

        As Judge Posner observed in Parrett, where working conditions become “infernal,” 737

F.2d at 695, an adverse employment action has been pled. Id. at 692. Here, defendants’ jealousy,

animosity, and spite toward Lara motivated by antimilitary animus incited more aggressive hostile


3
 The Reserve Officer’s Association of the United States (“ROA”) in law review number 23032 (June 2023) available
at www.roa.org/lawcenter, (last visited August 2, 2023), publishes extensive yet discrete topically indexed analyses
of USERRA. Without solicitation from Lara, the ROA published that it respectfully disagrees with the court’s
“narrow” interpretation of the reach of Section 4311(b) which, pursuant to the ROA’s view, embraces bad-faith
criminal investigations as materially adverse employment actions under USERRA.
                                                                                      Opposition to Motion to Dismiss
                                                                                                               Page 9
   Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 10 of 15 PageID #:319




acts and comments levelled at Lara and his civilian job conditions than those apparent in Parrett.

Compl. ¶¶ 90, 97 – 139. Defendants treated no other employee this way. Defendants intended to

create intolerable changes in Lara’s working conditions and went so far to make threats to kill

Lara’s promising law enforcement career. Hackett v. City of South Bend, 956 F.3d 504, 510 n.1

(7th Cir. 2020) (employment action can be materially adverse under the charge-dissuasion

standard, which requires sensitivity to the particular circumstances of an employee). Lara pled:

               Coe advised Lara that “the uniform we wear [RVCPD] was not just
               a costume to put on and play a part.” Coe threatened Lara with a
               “Brady Letter.” The Illinois Brady List includes all known issues
               of police misconduct, do not call status, decertification, public
               complaints, use-of-force reports, and citizen reports. Coe knew that
               placing a Brady Letter on the Brady List against Lara effectively
               ends a sworn law enforcement officer’s career.

Compl. ¶¶ 153 – 156. Not satisfied that Lara was terrorized and traumatized to the brink,

defendants turned up the tormenting heat to make Lara’s job conditions intolerable for “anyone

with some self-respect.” Parrett, 737 F.2d at 694; Compl. ¶¶ 164 – 180. Recognizing that the

cruelty involved in micro-managing Lara was taking a toll on Lara’s skill set, (sharp mind and

alertness dulled due to unremitting chastisement, threats, and demeaning castigations about Lara’s

performance of duty), id., ¶¶ 140 – 142, defendants redoubled their hostility and further distracted

Lara from his principle law enforcement duties. Id. ¶¶ 157 – 163. Still not contented with

atrophying Lara’s sharp mind and able constitution, defendants abandoned their oath as sworn law

enforcement officers and used made-up evidence to compel constructive discharge – a cooked up

fictitious order held out as a smoking gun to put a nail in the coffin of Lara’s career with

defendants. Id. ¶¶ 188 – 198; 207 – 215.

       Returning to Swearingen, the investigation there followed the evidence to natural ends.

Divergent, defendants here possessed exculpatory evidence as it was an interview away (Colonel)


                                                                          Opposition to Motion to Dismiss
                                                                                                 Page 10
   Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 11 of 15 PageID #:320




but suppressed it or willfully ignored it – violations of Lara’s Fifth Amendment rights. The facts

as pled demonstrate a concocted miasma to destroy a fellow law enforcement officer who

distinguished himself in combat operations and had a young family to provide for. Defendants

went from creating unbearable working conditions to beguilingly offering Lara a way out.

               After Coe threatened arrest and prosecution, Lara verbally stated his
               intent to resign from the RVCPD. Lara did so to end the harassment
               aimed toward him. Lara did so with the understanding that Coe
               would not carry out his unwarranted threats to pursue Lara’s arrest
               and prosecution. Lara followed with a written statement indicating
               his intent to resign. Lara sent this statement because he believed that
               his only other options were to bear the continued harassment
               perpetrated by Coe and eventually be terminated. On October 6,
               2017, Lara asked to rescind his resignation and Coe refused.

Id. ¶¶ 181 – 186.

       “Throughout the next twelve days after Lara departed the defendant’s employ, defendant’s

anti-military animus toward Lara’s service continued to foment.” Id. ¶ 187. The defendants wanted

more than a pound of flesh from Lara to punish him for Lara’s distinguished military service and

referred the investigation to county investigators and prosecutors knowing that a fundamental

premise – larceny and fraud – was lacking probable cause and was utterly untrue. Id. ¶¶ 199 – 219.

       When the alleged adverse employment action falls into the “unbearable changes in job

conditions such as a hostile work environment or conditions amounting to constructive discharge”

category, in order to survive a 12(b)(6) motion, plaintiff must allege facts that show the harassment

based on his membership in a protected class was severe or pervasive so as to alter the conditions

of his employment and create a hostile or abusive working environment. Alamo v. Bliss, 864 F.3d

541, 549 (7th Cir. 2017).

       The Seventh Circuit recognizes constructive discharges. Parrett, supra. Constructive

discharges are actionable under USERRA. See, e.g., Serricchio v. Wachovia Securities LLC, 658


                                                                            Opposition to Motion to Dismiss
                                                                                                   Page 11
   Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 12 of 15 PageID #:321




F.3d 169, 186 – 87 (2d. Cir. 2011) (holding that evidence supported finding of liability on veteran’s

constructive discharge claim in USERRA case); Lisdahl v. Mayo Foundation, 633 F.3d 712, 718

(8th   Cir.   2011) (holding    that   constructive   discharge    claim   “is    actionable      under

USERRA”); Figueroa Reyes v. Hospital San Pablo del Este, 389 F. Supp. 2d 205, 231 (D.P.R.

2005) (allegation of constructive discharge is cognizable under USERRA) (citing Diaz-Gandia v.

Dapena-Thompson, 90 F.3d 609, 614 (1st Cir. 1996)); Steenken v. Campbell County, 154 Lab.

Cas. (CCH) ¶ 10829, 2007 WL 837173, *4 n.4 (E.D. Ky. 2007) (USERRA plaintiff may establish

adverse action by showing he was constructively discharged). See also Wallace v. City of San

Diego, 479 F.3d 616 (9th Cir. 2007) (evidence sufficient to support finding that plaintiff was

constructively discharged in retaliation for exercising his rights as reservist under USERRA)

(decided under 38 U.S.C.A. § 4311(b)).

       Constructive discharge requires alleging facts from which it can be inferred that a

reasonable person would have felt compelled to resign because the working conditions were so

intolerable. Suders, 542 U.S. at 147 (2004). That is what Lara did.

       Upon receiving Lara’s resignation letter, a human resources officer stated, “that is all I

need, but if they [police defendants] want to press charges, that is on them,” strong evidence of the

malicious construct to force Lara out and ruin present and future law enforcement opportunities.

                      SUMMARY OF WELL-PLED USERRA COUNTS

       Count I satisfies Rule 8(a)(2) by detailing the antimilitary animus spawning the hostile

work environment which was aimed at Lara alone which were so severe and pervasive to alter for

the worse Lara’s working conditions. Alamo, 864 F.3d at 549. The harassment based on Lara’s

membership in the class USERRA protects was “infernal” as Judge Posner related in a lesser

abusive case upholding a constructive discharge, Parrett, supra.


                                                                           Opposition to Motion to Dismiss
                                                                                                  Page 12
   Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 13 of 15 PageID #:322




       Count II satisfies Rule 8(a)(2) by recounting Lara’s invocation of USERRA’s protections

since 2014 and defendants retaliation against Lara by claiming that Lara abused the military leave

policy, was insubordinate, was not trustworthy, lacked integrity, concealed facts from Lara’s Army

Reserve commander to perpetuate a false narrative, demeaned Lara’s reputation for accuracy and

honest reporting, surveilling of Lara and his minor child, threating termination followed by arrest,

prosecution, and deprivation of liberty resulting in unbearable changes in Lara’s job conditions

rising to the level of a legally cognizable hostile work environment. Alamo, 864 F.3d at 549

       Count III satisfies Rule 8(a)(2) by alleging defendants deprived Lara of benefits of Lara’s

employment, to include lost military leave, lost vacation, finding replacements for shifts when

military duty called, lack of back up on police calls, loss of pay and benefits, loss of “status,” loss

of advancement, mocking Lara’s wear of the uniform as a “costume,” deriding Lara’s duties as

“playing a part,” denigrating Lara to ostracize him denying Lara retention in employment, and,

subjecting Lara to continuous harassment which is a denial of benefits of employment under

USERRA to the same extent proscribed by other employment-related civil rights statutes.

       Count IV satisfies Rule 8(a)(2) by claiming the unlawful hostile work environment, near

incessant retaliation, and threats to discipline Lara based on an utterly false or “fictitious order,”

terminate Lara, then arrest him, prosecute him, and imprison him, destroying his career and future

prospects. As self-respecting as the police officer in Parrett who was subjected to lesser maniacal

toxicities who resigned and the Seventh Circuit upheld his constructive discharge claim, Lara too

resigned to ward off the threatened termination, a criminal case, and thereby preserve future law

enforcement opportunities. To this day, defendant’s unlawful actions have black-balled Lara from

civilian law enforcement.




                                                                             Opposition to Motion to Dismiss
                                                                                                    Page 13
   Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 14 of 15 PageID #:323




 DEFENDANT’S MOTION TO DISMISS IS MISPLACED AND SHOULD BE DENIED

       A reasonable reading of defendant’s motion lends little critical or helpful analysis to the

important grievances for which Lara seeks redress before the citizens of this district. Defendant’s

motion should be discounted entirely as possessing no value to the instant determinations.

       Still, Lara addresses four points. First, defendants rely almost exclusively on the court’s

dismissal (Doc. 62) and urge extension of the court’s reasoning there to dismiss again. Defendants

circumscribe the appropriate analysis of Lara’s pleading which satisfies Rule 8(a)(2). Defendant’s

suggestion to the court that “you did it before, so do it again” must fail given the condemnatory

facts Lara pled.

       Secondly, nowhere among defendant’s regurgitation of the dismissal is any application of

Rule 8(a)(2) to identify just how Lara’s factual allegations fail to meet the “short and plain”

statement requirement. The conspicuous absence of that directly relevant if not necessary argument

in a Rule 12(b)(6) motion to dismiss is strong evidence that Lara has indeed, academically and in

practice, pled sufficiently, amply, and with particularity, (even perhaps complying with the

heightened specificity pleading requirements for fraud under Rule 9). To be sure, the defendants

are on very clear notice of what their police department ruinously and unlawfully did to a fine,

loyal, law-abiding man, father, police officer, soldier, veteran, and neighbor.

       Thirdly, defendants repeatedly misquote Lara claiming Lara characterized defendant’s

shameful and unlawful investigation as a legitimate investigation. Nowhere in Lara’s complaint

does Lara make such an averment.

       Fourth and finally, comments the defendants included in their papers are troublesome and

inviting of the court’s attention as unnecessary and pernicious ad hominem toward Lara directly

stating that Lara’s grievances and request for redress to pick up the pieces and put his life back


                                                                           Opposition to Motion to Dismiss
                                                                                                  Page 14
   Case: 3:22-cv-50014 Document #: 78 Filed: 08/04/23 Page 15 of 15 PageID #:324




together after defendants terrorized him as pled, are a waste of the court’s time, the court’s

resources, as well as a squandering of taxpayers’ funds used to defend the defendants.

       Verbatim from defendant’s instant motion to dismiss: “Plaintiff wastes the time and

resources of the Court, as well as those of the publicly funded Defendants . . .” (Def’s. Mem. at

3) (emphasis added). Lacking any citation to law or application of law to the claims Lara described,

defendant’s dismissive, unnecessary, and vitriolic comments here show the mean-spirited

virulence that the police department contemptuously piled upon Lara continues unabated.

                                         CONCLUSION

       Pursuant to Rule 8(a)(2), Lara has sufficiently pled Counts I, II, III, IV, and damages caused

by the defendants’ USERRA violations set forth and discussed therein. First Sergeant, United

States Army Reserve, and Police Officer Vincent P. Lara, prays the court open the doors of justice

so that Lara may lay his claims before the good citizens of this district, Lara’s countrymen and

Lara’s neighbors whom Lara has devoted his entire adult life as Twice the Citizen to protect and

defend against all opponents foreign and domestic, for their sound judgment of his grievances.

                                                      /s/ John N. Maher
Dated: August 4, 2023                                 John N. Maher
                                                      Illinois ARDC 6237599
                                                      Kevin J. Mikolashek
                                                      MAHER LEGAL SERVICES PC
                                                      17101 71st Avenue
                                                      Tinley Park, Illinois 60477
                                                      Tel: (708) 781-9212
                                                      Facsimile: (708) 781-9693
                                                      john@maherlegalservices.com
                                                      kevin@maherlegalservices.com
                                                      Counsel for Plaintiff




                                                                           Opposition to Motion to Dismiss
                                                                                                  Page 15
